Case 6:20-cr-00097-JCB-JDL Document 162 Filed 03/24/21 Page 1 of 2 PageID #: 400




                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

  UNITED STATES OF AMERICA,                         §
                                                    §
                                                    § CASE NUMBER 6:20-CR-00097-JCB
  v.                                                §
                                                    §
                                                    §
  SHY ANNE ROGERS (5),                              §
                                                    §

             FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
                  BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. ' 636(b), this matter has been referred by the District Court for

 administration of a plea of guilty under Rule 11 of the Federal Rules of Criminal Procedure.

        On March 24, 2021, this cause came before the undersigned United States Magistrate Judge

 for a plea of guilty to an Indictment charging the Defendant in Count One with a violation of Title

 21 U.S.C. § 846 - Conspiracy to Possess with the Intent to Distribute and Distribution of a

 Controlled Substance (Methamphetamine). After conducting said proceeding in the form and

 manner prescribed by Federal Criminal Procedure Rule 11, the undersigned finds that:

        a.      the Defendant, after consultation with counsel of record, has knowingly and

 voluntarily consented to the administration of the Guilty Plea in this cause by a United States

 Magistrate Judge, subject to a final acceptance and imposition of sentence by the District Judge;

        b.      the Defendant and the government have entered into a plea agreement which has

 been filed and disclosed in open court pursuant to Federal Rule of Criminal Procedure Rule

 11(c)(2);

        c.      the Defendant is fully competent and capable of entering an informed plea, that the

 Defendant is aware of the nature of the charges, the maximum penalties, and the consequences of
Case 6:20-cr-00097-JCB-JDL Document 162 Filed 03/24/21 Page 2 of 2 PageID #: 401




 the plea, and that the plea of guilty is a knowing and voluntary plea supported by an independent

 basis in fact containing each of the essential elements of the offense; and

        d.      the Defendant understands each of the constitutional and statutory rights

 enumerated in Rule 11(b)and wishes to waive these rights, including the right to a trial by jury.

        IT IS THEREFORE RECOMMENDED that the District Court accept the Plea Agreement

 and the Guilty Plea of the Defendant and that SHY ANNE ROGERS (5) should be finally

 adjudged guilty of that offense.

        Defendant has waived her right to object to the findings of the Magistrate Judge in this

 matter so the Court will present this Report and Recommendation to District Judge J. Campbell

 Barker for adoption immediately upon issuance.




       So ORDERED and SIGNED this 24th day of March, 2021.
